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SETTLEMENT AGREEMENT

This agreement made de: = day of — by and emong the Municipal
Review Committee, Inc, [the "MRC", a, Maine corporation with a place of business in
Ellsworth, Hancock County, Maine, USA Energy Group, LLC ["USAE"), a Minnesota litnited
liability company with a place of business in Minneapolis, Hennepin County, Minnesota, PERC
Holdings, LLC, a Minnesota limited liability company with a place of business in Eden Prairie,
Hennepin County, Minnesota, si: Penobscot _Energy Recovery Company, Limited
Partnership ["PERC"], a Meng (a fimited print a place of business in Orrington,
Penobscot County, Maine [collectively, , "the Parties").
WHEREAS, the Parties are engaged in pending litigation in the Business and Consumer_/
Court in a matter titled Municipal Review Committee, Inc., et al. v. USA Energy Group, LLC,
Docket No. BCD-CV-15-22 [the "Primary Litigation"; and ¢
WHEREAS, the Parties also have an interest in pending litigation in the eb
_ County Superior Court in a matter titled Penobscot Energy Recovery Company, LP, et al. v.
Maine Diepafiauent of Environmental Protection, )Docket No, AP-2016-52 [the "Rule 80C
Appeal"}; and
WHEREAS, the Parties are signatories to and/or beneficiaries of a certain agreement
titled Fifth Amended and Restated Agreement of Limited Partnership of Penobscot Energy
Recovery Company, Limited Partnership dated July 18, 2011 [the "Fifth Amended Partnership
Agreement"); and
WHEREAS, the Parties wish to resolve all pending issues in the Primary Litigation and
ta allow the Rule 80C Appeal to be resolved in the ordinary course through the court system; and

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WHEREAS, the Parties wish to modify and simplify their working relationship by
amending and restating the Fifth Amended Partnership Agreement.

NOW, THEREFORE, in consideration of the mutual commitments and undertakings
more fully described below, the receipt and sufficiency of which are hereby acknowledged by

the Parties, the Parties agree as follows.

1. Partnership Agreement. All parties to the Fifth Amended Partnership Agreement hereby
agree to adopt the Sixth Amended and Restated Agreement of Limited Partnership of

Penobscot Energy Recovery Company, Limited Partnership, appended hereto as
Exhibit A (the “Sixth Amended Partnership Agreement”).

2. Joint Communiqué. At the earliest practicable date following the execution of this
agreement, the MRC and USAE shal! prepare a joint communiqué to all municipalities
with a contractual or ownership interest in PERC, explaining the elements of the
agreement as they pertain to municipal interests, indicating that the MRC and USAE have
resolved their legal differences with the exception of the pending Rule 80C Appeal,
stating that they have negotiated a positive conclusion to their partnership arrangement at
PERC, and that they have agreed to a guarantee from USAE of payments from PERC of
Performance Credits and Net Cash Flow (es those terms are defined in the Sixth
Amended Partnership Agreement) that will be made to the MRC as agent for its members
through March 31, 2018. The joint communiqué shall expressly provide that the
guaranteed payments are not intended to be reimbursement for any lobbying expenses
incurred by USAE and shall encourage the Equity Charter Municipalities to relinquish
their membership interests in the PERC Partnership as described in the Sixth Amended
Partnership Agreement,

3. Joint Meeting. Subsequent to the release of the joint communiqué, the MRC and USAE
shall hold a joint public meeting to explain to the affected municipalities the elements of
the agreement as they pertain to municipal interests,

4, Existing Delivery Contracts. The MRC shall use all reasonable means to encourage
municipalities to comply with their existing waste disposal agreements with PERC from
the date of execution of this agreement through March 31, 2018. Such efforts shall not
preclude the MRC from negotiating with municipalities or any other entity or source
within Maine concerning the delivery of solid waste following the expiration of the
current delivery contracts, subject only to the non-disparagement clause set forth below.

5. Non-disparagement. In the context of the joint communiqué and in~alJ other
communications,.actions, and undertakings from the date of execution of this agreement /
going forward. no party, or any legally or contractually related entity of any patty, shall /
by either words or conduct disparage, or suffer or permit the disparagement of, any other.

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party's efforts to provide or procure municipal solid waste disposal services, pow or in the
future.—This-prohibition against disparagement shall not extend to the Parties' on-going
efforts in relation to the Rule 80C Appeal, nor shall it be interpreted as inhibiting,
limiting, or adversely affecting the ability of the Parties to prosecute or defend their legal
and factual positions in felation to thé Rule 80C Appeal. The Parties further expressly
Og ~~ ackn on-going recruitment ofits wih respect to municipal solid waste disposal
4 generated from any source, including municipalities, in Maine. This agreement is not
intended to delay, frustrate, or impede those efforts, so long as they do not include
disparagement of or interference with the other r other party's design or
implementation efforts, outside the context of the Rule 80C Appegl. This agreement does
not preclude efforts te enforce the terms of the Sixth-Amended artnership Agreement or
the terms of this agreement. Nor does it preclude discussion of compliance with this
agreement, the Second Amended, Restated, and Extended Waste Disposal Agreements,
or the Sixth Amended Partnership Agreement, or normal discussion of partnership issues
including management of PERC, review of tip fee calculations and compliance with
performance standards, as contemplated by the waste disposal agreements and the Sixth
Amended Partnership Agreement. The Parties shall modify, to the extent necessary, and

maintain all media to comply with this provision of the agreement.

6. Guaranteed Payments. The MRC's share, Dredoged for the benefit of its member
communities, of Performance Credits and Net Cash Flow payments shall be at the
guaranteed amount of Five Million Four Hundred Thousand Dollars ($5,400,000)
beginning on September 1, 2016, and extending through March 31, 2018, to be paid as
part of the monthly "waterfall payments" in accordance with the current Surplus Cash
Agreement and the Partnership Agreement, with any remaining balance due to be paid no
later than March 31, 2018. If there is cash flow in the agerepate in excess of the
guaranteed amounts, the MRC, on its own behalf and on behalf of the municipal limited
partners of PERC, shall not participate in the excess.

7. Consent Payment. In addition to the foregoing, USAE shall, contemporaneously with the
execution of this agreement, pay or cause to be paid the sum of Six Hundred Thousand
($600,000.00) in cash to the MRC (the “Consent Payment”). This Consent Payment is

a being made to the MRC because the MRC has consented to the following: (a) the

/ removal of the “2018 Purchase Option” as detailed in Section 9.3 of the Fifth Amended

and Restated Agreement of Limited Partnership; and (b) the addition of the Equity

Charter Put Option as detailed in the new Section 9.3 of the Sixth Amended Partnership

Agreement; and (c) the addition of the Partnership Call Option as detailed in the new

Section 9.4 of the Sixth Amended Partnership Agreement; and (d) the Termination of the

Charter Municipality Purchase Option as detailed in the new Section 9.5 of the Sixth

Amended Partnership Agreement. Furthermore, both USAE and the MRC acknowledge

and agree thatthe Consent Payment does not relate, in any way, to the dismissal of the
Primary Litigafion.

8. GAT Penalties. USAE hereby relinquishes any claim to guaranteed annual tonnage

["GAT"] penalties accrued but not yet invoiced, and no further GAT penalties will be
charged through March 31, 2018, or thereafter.

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9. Cash Reserve Withdrawal. USAE will provide assistance to the MRC in withdrawing up
to One Million Three Hundred Thirty-Three Thousand, Three Hundred Thirty-Three and
Thirty-Three One-Hundredths Dollars ($1,333,333.33) from the TD Bank cash reserve
account immediately upon execution of this agreement, and shall continue to provide
such further assistance in relation to that withdrawal as the MRC may reasonably require.

10. Primary Litigation. The Parties shall stipulate to a dismissal of the Primary Litigation,
with prejudice and without costs to any party.

11. Emera Maine. As partial consideration for this agreement, USAE represents and the
MRC accepts USAE's representation, that the interests of Emera Maine will not be
adversely affected by any provision of this agreement.

12, PERC Holdings. As partial consideration for this agreement, USAE represents and the
MRC accepts USAE's representation, that PERC Holdings, LLC, has reviewed and
approved the elements of this agreement.

13. MRC Authority. As partial consideration for this agreement, the MRC represents and
USAE accepts the MRC's representation that the MRC has the necessary authority to
negotiate and enter into this agreement on its own behalf and on behalf of the municipal
limited partners of PERC. The MRC shall defend and indernnify USAE and/or PERC
Holdings in the event the MRC's authority is legally challenged through an action against
USAE, PERC Holdings, or PERC.

14. MRC Board Approval. It is expressly understood that this agreement is subject to and
contingent upon approval by the MRC Board of Directors, which approval shall not be
unreasonably withheld, If the MRC Board of Directors does not approve this Agreement
the payment of Six Hundred Thousand Dollars ($600,000) as described in Section 7
above shall be promptly returned to PERC.

[Signatures on next page]

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